                            Case 22-15722-PDR                     Doc 13         Filed 08/16/22              Page 1 of 2

CGFD15 (6/27/22)




ORDERED in the Southern District of Florida on August 16, 2022




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                                 Case Number: 22−15722−PDR
                                                                                                                 Chapter: 7

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Wilson Fils Lamy
aka Wilson F Lamy, aka Wilson Lamy
5415 Nw 22nd St
Lauderhill, FL 33313

SSN: xxx−xx−2257


                                                    ORDER DISMISSING CASE
     At the time of filing of the above referenced case on July 26, 2022, the debtor was provided notice by
the court of filing requirements and the deadline(s) to correct deficiencies.

As of the date of this order, the debtor has failed to correct the following deficiency(ies) by the required
8/9/2022 deadline:

                       Debtor's Payment Advices

        Because the debtor has failed to meet the deadline(s) above for the listed deficient items, it is

ORDERED that:

 1. In accordance with 11 U.S.C. § 105(a), this case is dismissed.

 2. All pending motions are denied as moot.

 3. (If applicable) the trustee shall file a final report within 14 days of entry of this order.

 4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Federal Building, 299 E
    Broward Blvd, Room 112, Ft Lauderdale FL 33301, $0.00 for the balance of the filing fee as required
    by Local Rule 1017−2(E). Only certified check or money order (cash will not be accepted as a form of
    payment). Case number must be included on the certified check or money order. Filer should include
                         Case 22-15722-PDR               Doc 13        Filed 08/16/22   Page 2 of 2

      a self?addressed stamped envelope if a receipt is requested. Any funds remaining with the trustee
      shall be applied to this balance in accordance with the Bankruptcy Code and Local Rule 1017−2(F),
      unless otherwise ordered by the court. The court will not entertain a motion for reconsideration of this
      order unless all unpaid fees are paid at the time the motion is filed.

 5. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for filing
    any future voluntary petitions submitted by this debtor if the refiling violates a prior order of the court
    or if the petition is accompanied by an Application to Pay Filing Fee in Installments and filing fees
    remain due from any previous case filed by the debtor.
                                                                ###
The clerk shall serve a copy of this order on all parties of record.
